AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
          UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                V.                                                            (For Revocation of Probation or Supervised Release)
                                                                              (For Offenses Committed On or After November 1, 1987)

          STEVEN LYNN MILAM
                                                                              Case Num ber: DNCW 105CR000023-011
                                                                              USM Num ber: 18816-058

                                                                              Fredilyn Sison
                                                                              Defendant’s Attorney

          THE DEFENDANT:
          X     adm itted guilt to violation of condition(s) 2, 3, 4, 7 & 8 of the term of supervision.
                W as found in violation of condition(s) count(s)            After denial of guilt.

          ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):
                                                                                                            Date Violation
            Violation Num ber                   Nature of Violation                                         Concluded



            2                                   Drug/Alcohol Use                                            4/8/2011

            3                                   Drug/Alcohol Use                                            5/13/2011

            4                                   Drug/Alcohol Use                                            5/16/2011

            7                                   Other - Found in presence of a convicted felon              4/7/2011

            8                                   Other - Found in presence of a convicted felon              5/11/2011




                  The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is im posed
          pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. §
          3553(a).
           X      The Defendant has not violated condition(s) 1, 5, 6 And is discharged as such to such violation(s)
                  condition.
                  IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of
          any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
          im posed by this judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court
          and United States attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                                      Date of Im position of Sentence: 8/29/2011

                                                                                       Signed: September 10, 2011




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                                                             IM PRISONM ENT

         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be
im prisoned for a term of seven (7) m onths.


X         The Court m akes the following recom m endations to the Bureau of Prisons:

          - Participate in the Inm ate Financial Responsibility Program .
          - Participate in any available substance abuse treatm ent program s while incarcerated.
          - Participate in any available educational and vocational opportunities.


X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                   RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal




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                                                          SUPERVISED RELEASE

           Upon release from im prisonm ent, the defendant shall be on supervised release for a term of thirty-six (36)
m onths.
           The condition for m andatory drug testing is suspended based on the court’s determ ination that the
           defendant poses a low risk of future substance abuse.

                                            STANDARD CONDITIONS OF SUPERVISION

           The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.         The defendant shall not com m it another federal, state, or local crim e.
2.         The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.         The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the
           sentence of probation or the term of supervised release on a schedule to be established by the C ourt.
4.         The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.         The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.         The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.         The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful
           and com plete written report within the first five days of each m onth.
8.         A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within
           72 hours of release from custody of the Bureau of Prisons.
 9.        The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.        The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.        The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
           activities authorized by the probation officer.
12.        The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.        The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister
           any narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed
           physician.
14.        The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the
           probation officer, until such tim e as the defendant is released from the program by the probation officer; provided, however, that
           defendant shall subm it to a drug test within 15 days of release on probation or supervised release and at least two periodic drug
           tests thereafter for use of any controlled substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respectively.
15.        The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.        The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted
           of a felony unless granted perm ission to do so by the probation officer.
17.        The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage
           m edia, or any electronic device capable of storing, retrieving, and/or accessing data to which they have access or control, to a
           search, from tim e to tim e, conducted by any U .S. Probation Officer and such other law enforcem ent personnel as the probation
           officer m ay deem advisable, without a warrant. The defendant shall warn other residents or occupants that such prem ises or vehicle
           m ay be subject to searches pursuant to this condition.
18.        The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of
           any contraband observed by the probation officer.
19.        The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent
           officer.
20.        The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the
           perm ission of the C ourt.
21.        As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s
           crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm
           the defendant’s com pliance with such notification requirem ent.
22.        If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in
           defendant’s econom ic circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.        If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of
           the electronic m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation
           officer.
24.        The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.        The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer.
           The defendant shall remain in the services until satisfactorily discharged by the service provider and/or with the approval of the U.S.
           Probation Officer.


ADDITIONAL CONDITIONS:
26.        Throughout the period of supervision the probation officer shall m onitor the defendant’s econom ic circum stances and shall report to the
           court, with recom m endations as warranted, any m aterial changes that affect the defendant’s ability to pay any court ordered penalties.
27.        As soon as possible after the com m encem ent of supervised release, the defendant shall serve four m onths in a halfway house at
           the direction of and as coordinated by the probation officer.
28.        Perform 50 hours of com m unity service at the direction of the probation officer .
29.        C ourt notes defendant has a balance of $3,082.10 rem aining from prior judgm ent regarding court appointed counsel fees.

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                                                CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of
Paym ents.


                ASSESSM ENT                                                   FINE                           RESTITUTION

                      $0.00                                               $0.00                                  $0.00



                    The determ ination of restitution is deferred until                . An Amended Judgment in a Criminal Case
                    (AO 245C) will be entered after such determ ination.

                                                                     FINE


          The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or
restitution is paid in full before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of
the paym ent options on the Schedule of Paym ents m ay be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

                    The court has determ ined that the defendant does not have the ability to pay interest and it is
                    ordered that:

                    The interest requirem ent is waived.

                    The interest requirem ent is m odified as follows:


                                               COURT APPOINTED COUNSEL FEES

                    The defendant shall pay court appointed counsel fees.

                    The defendant shall pay $                         Towards court appointed fees.




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                                                      SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as
follows:

          A                    Lum p sum paym ent of $                        Due im m ediately, balance due

                               Not later than               , or
                               In accordance             (C),          (D) below; or

          B          X         Paym ent to begin im m ediately (m ay be com bined with                (C),     X (D) below); or

          C                    Paym ent in equal                  (E.g. weekly, m onthly, quarterly) installm ents of $
                               To com m ence                   (E.g. 30 or 60 days) after the date of this judgm ent; or

          D          X         Paym ent in equal m onthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To
                               com m ence 60 (E.g. 30 or 60 days) after release from im prisonm ent to a term of
                               supervision. In the event the entire am ount of crim inal m onetary penalties im posed is not
                               paid prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue
                               collection of the am ount due, and m ay request the court to establish or m odify a paym ent
                               schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

          The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court costs:
          The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a
period of im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All
crim inal m onetary penalty paym ents are to be m ade to the United States District Court Clerk, 309 U.S.
Courthouse, 100 Otis Street, Asheville, NC, 28801, except those paym ents m ade through the Bureau of Prisons’
Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are to be m ade as directed by
the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.




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